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AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

 

re f° _ 0 | 0 5 d tinge warr ptexecuted: Copy of warrgnt and inventory left with:
pri }4 a

 

 

 

Inventory made in the presence WT é

 

Inventory of the property taken and name of any person(s) seized:

Dats oy tra Ted

: _ Wetted 8 towels
i <r exes

JUN 18 vois

David J. Bradley, Clerk of Cour;

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the designated judge.

vee Maoh ZZ

FJ A Exeeutin officer’s signature
4 MIO Mpx CS, Corvsel Gents

Printed nante arid title

 

 

 

 

 

 
 

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7

AO 93 (Rev, 01/09) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Southern District of Texas

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

“= H19-0106M

SEARCH AND SEIZURE WARRANT

Verizon ZTE Model 2839, IMEI 864668030677313, S/N
320376585848. See Attachment A.

Nee ee ee

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Southern District of Texas
(identify the person or describe the property to be searched and give its location):

Verizon ZTE Model 2839, IMEI 864668030677313, S/N 320376585848. See Attachment A.

The person or property to be searched, described above, is believed to conceal (identify the person or describe the

property to be seized):
Evidence and instrumentalities of a crime.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or

 

property.
YOU ARE COMMANDED to execute this warrant on or before ky LS / Z g / Gg
(not to exceed } days) .
@ inthe daytime 6:00 a.m. to 10 p.m. C1 at any time in the day or night as I find reasonable cause has been

established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge

Nancy K. Johnson
(name)

C1 I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) (for days (not to exceed 30).

CTuntil, the facts justifying, the later specific

 

Date and time issued: 1/18/2019 ‘ on

Zo =
val AO
City and state: Houston, Texas ancy K. Johnson” United States Magistrate Judge

Printed name and title

 
